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§§ALEI FILED

IN THE UNITED STATES DISTRICT COURT MA¥", 8 2012
FOR THE NORTHERN DISTRICT OF OKLAHOMA Ph" LOmbardi, Clerk
u.s. DlSTRlcT couRT

 

 

 

UNITED STATES OF AMERICA, ) FILED UNDER SEAL
Plaintiff, §
v. § Case No. 12-CR-00054-CVE
CODY ALLEN JONES, §
Defendant. §

PETITION FOR WRIT OF HABEAS
CORPUS AD PROSEQUENDUM

Janet S. Reincke, Assistant United States Attorney for the Northern District
of Oklahoma, represents to this Honorable Court that there is now pending in this
Court a certain cause of action Wherein the United States of America is plaintiff
and CODY ALLEN JONES is the defendant.

Plaintiff further states that it is necessary to have CODY ALLEN JONES
present at Tulsa, Oklahoma, forthwith for an initial appearance.

That said CODY ALLEN JONES at this time is a prisoner of the Oklahoma
Department of Corrections, c/o Stanley Glanz, Sheriff, David L. Moss Criminal
Justice Center, Tulsa, Oklahoma, and Will not have been released on the date that
said initial appearance is scheduled, and that said CODY ALLEN JONES is in
the charge, custody, and under the control of the Oklahoma Department of

Corrections, c/o Stanley Glanz, Sheriff, David L. Moss Criminal Justice Center,

Glj

Tulsa, Oklahoma.

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WHEREFORE, plaintiff prays that a Writ of Habeas Corpus Ad
Prosequendum be issued by this Honorable Court to Oklahoma Department of 7
Corrections, c/o Stanley Glanz, Sheriff, David L. Moss Criminal Justice Center,
Tulsa, Oklahoma, that he be directed and required to deliver the body of said
CODY ALLEN JONES to the United States Marshal for the Northern District of
Oklahoma, and that said Marshal shall produce and bring the body of said CODY
ALLEN JONES before this Court in Tulsa, Oklahoma, forthwith and that upon
disposition of said cause, the Marshal shall return the body of said CODY ALLEN
JONES to Oklahoma Department of Corrections, c/o Stanley Glanz, Sheriff, David
L. Moss Criminal Justice Center, Tulsa, Oklahoma.

Respectfully submitted,

 

 

Janet . eincke, OBA# 11(’)`93
Assist t United States Attorney
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(918) 382-2700

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STATE OF OKLAHOMA )
) ss.
COUNTY OF TULSA )
Janet S. Reincke, Assistant United States Attorney for the Northern District

of Oklahoma, being first duly sworn, and having read the above and foregoing
Petition for Writ of Habeas Corpus Ad Prosequendum, states that the facts

contained therein are true and correct to the best of y wledge and belief.

J a t . Reincke
As is nt United States Attorney

Sworn and subscribed to before me this 8th day of May, 2012.

Notary Pub(i}l U /"

My commission # 05006893 expires 7/27/2018

  

 

